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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
UNITED STATES OF AMERICA
                                                           09 Cr. 1120 (PKC)
                 v.
                                                           NOTICE OF MOTION PURSUANT TO
HAN CAVAN,                                                 F. R. Cr. P. 12(b)(3)(A)(iii); 48(b)(3)

                                    Defendant.
-------------------------------------------------------X

        PLEASE TAKE NOTICE THAT the defendant, Han Cavan, hereby moves this Court for

an Order dismissing the subject indictment on the ground that his Sixth Amendment right to a

speedy trial has been violated.

        The return date of this motion is April 22, 2016. The Government’s Response is due on

March 4, 2016. The defendant’s Reply is due on March 14, 2016. The return date and all

interim dates are subject to further Order of the Court.



DATED:           New York, New York
                 February 12, 2016

                                                                 Respectfully,
                                                                 /S/ Arnold J. Levine
                                                                 Arnold J. Levine (AL6819)
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